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 1   Peter E. Perkowski (SBN 199491)
     peter@perkowskilegal.com
 2   PERKOWSKI LEGAL, PC
     515 S. Figueroa Street
 3   Suite 1800
     Los Angeles, California 90071
 4   Telephone: (213) 340-5796
 5   Attorneys for Plaintiff
     BACKGRID USA, INC.
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 7

 8                        UNITED STATES DISTRICT COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
10   BACKGRID USA, INC.,                       Case No.: 2:23-cv-8585
11               Plaintiff,                    COMPLAINT FOR COPYRIGHT
12
                                               INFRINGEMENT
     v.
13
                                               Jury Trial Demanded
     SPAIN WEB MEDIA CONSULTING
14
     SL,

15
                 Defendant.

16

17         Plaintiff BackGrid USA, Inc., for its Complaint against Defendant Spain
18   Web Media Consulting SL, doing business as HIGHXTAR., alleges as follows:
19                                  JURISDICTION
20         1.    This action arises under the Copyright Act of 1976, Title 17 U.S.C.
21   § 101 et seq. This Court therefore has jurisdiction over the subject matter of
22   this action under 28 U.S.C. § 1331 (federal question) and § 1338 (copyright).
23                                      PARTIES
24                                 Plaintiff BackGrid
25         2.    Plaintiff BackGrid is an entity organized and existing under the
26   laws of the State of California with its principal place of business in Redondo
27   Beach, California.
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                                       COMPLAINT
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 1         3.    BackGrid is a global premier celebrity news and photo agency
 2   that provides the world’s news outlets with real-time content from the top
 3   photographers. BackGrid also maintains a library of photographs on a
 4   diverse range of subjects including celebrities, music, sports, fashion, and
 5   royalty.
 6         4.    BackGrid licenses its photographs to leading magazines,
 7   newspapers, and editorial clients, throughout the world, including in the
 8   United States and in California.
 9         5.    BackGrid conducts business as a syndicator of photos and photo
10   features of popular content. The business model is predicated on licensing
11   the use of work to many different licensees, each of which pays a fee to
12   publish.
13                                      Defendant
14         6.    On information and belief, defendant HIGHXTAR. is a private
15   limited company organized under the laws of the country of Spain.
16         7.    HIGHXTAR. is a prominent Spanish digital platform known for
17   its in-depth coverage of contemporary culture, including fashion, music, and
18   art. While rooted in Spain, the online magazine offers a global perspective,
19   making it appealing to international audiences.
20         8.    On information and belief, HIGHXTAR. owns, operates, or is
21   responsible for the content of the social media account @highxtar on
22   Instagram the social media account @highxtar_ on and X, formerly known as
23   Twitter.
24                          Personal Jurisdiction and Venue
25         9.    As a result of a Digital Millennium Copyright Act
26   counternotification filed with Instagram, HIGHXTAR. has consented to
27   personal jurisdiction in any judicial forum in the United States in which Meta
28   Platforms, Inc., the corporate owner of Instagram, may be found.
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                                        COMPLAINT
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 1         10.   On information and belief, Meta Platform can be found in the
 2   State of California and in this judicial district.
 3         11.   Accordingly, this Court has personal jurisdiction over
 4   HIGHXTAR.
 5         12.   Venue in this judicial district is proper under 28 U.S.C. § 1400(a).
 6                               BACKGROUND FACTS
 7                             The Copyrighted Photographs
 8         13.   BackGrid is the owner and copyright holder of 12 photographic
 9   images (the “Images”) as follows:
10         14.   Images 1 and 2 depict Kim Kardashian and Pete Davidson
11   photographed together for the first time. Images 1 and 2 were registered with
12   the U.S. Copyright Office as Reg. No. VA 2-277-774 (eff. Nov. 19, 2021).
13         15.   Image 3 depicts Kim Kardashian and Pete Davidson vacationing
14   together as a couple in the Bahamas. Image 3 was registered with the U.S.
15   Copyright Office as Reg. No. VA 2-285-738 (eff. Jan. 1, 2022).
16         16.   Image 4 depicts musician A$AP Rocky attending Rihanna’s 35th
17   birthday in Santa Monica, California. Image 4 was registered with the U.S.
18   Copyright Office as Reg. No. VA 2-352-620 (eff. May 17, 2023).
19         17.   Images 5 through 7 depict model Kendall Jenner and musician
20   Bad Bunny spotted together being affectionate for the first time. Images 5
21   through 7 were registered with the U.S. Copyright Office as Reg. No.
22   VA 2-353-897 (eff. June 5, 2023).
23         18.   Image 8 also depicts model Kendall Jenner and musician Bad
24   Bunny spotted together being affectionate for the first time from a different
25   angle. Image 8 was registered with the U.S. Copyright Office as Reg. No.
26   VA 2-353-898 (eff. June 5, 2023).
27         19.   Images 9 through 11 depict musicians Jay-Z and Beyoncé’s $200
28   million mega mansion in Malibu, California for the first time as move-in
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                                         COMPLAINT
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 1   began. Images 9 through 11 were registered with the U.S. Copyright Office as
 2   Reg. No. VA 2-359-363 (eff. Aug. 16, 2023).
 3        20.     Image 12 depicts musician Kanye West out for ice cream in Los
 4   Angeles, California. Image 12 was registered with the U.S. Copyright Office
 5   as Reg. No. VA 2-359-355 (eff. Aug. 4, 2023).
 6                                  The Infringements
 7        21.     BackGrid never licensed the Images to defendant. Nevertheless,
 8   defendant used the Images without authorization or permission to do so.
 9        22.     Defendant or its agents copied each of the Images from Internet
10   sources—on information and belief including legitimate licensees of
11   BackGrid—stored the Images on its servers, and displayed the Images by
12   using them to boost user engagement, increase shareability on social media,
13   and lend credibility to content, which in turn contributed to the growth and
14   reputation of HIGHXTAR.’s digital presence.
15                    Defendant’s Infringements Harmed BackGrid
16        23.     The Images are creative, distinctive, and—as evidenced by
17   defendant’s use and misappropriation of them—valuable. Because of the
18   Images’ quality, visual appeal, and celebrity subject matter, BackGrid stood
19   to gain revenue from licensing them.
20        24.     But defendant’s unauthorized use of the Images harmed the
21   existing and future market for the Images. Defendant’s posts made the
22   Images immediately available to its followers and to the public, including
23   consumers of entertainment, streetwear, and high fashion news—and
24   especially news and images of the celebrity subjects of the Images—who
25   would otherwise be interested in viewing licensed versions of the Images in
26   the magazines, newspapers, and online publications that are BackGrid’s
27   customers.
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                                       COMPLAINT
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 1         25.   Defendant’s unauthorized use of the Images also harms
 2   BackGrid’s business model by driving down the prices for legitimately
 3   licensed celebrity images and driving away BackGrid’s actual and potential
 4   customers. BackGrid’s customers—among them, media companies who
 5   compete with defendant and, unlike defendant, pay large license fees for
 6   celebrity visual content—are less likely to purchase licenses, or pay as much
 7   for a license, when the same visual content will be widely distributed
 8   simultaneously on the websites of their competitors.
 9         26.   BackGrid sold and offered for sale all of the Images on an
10   Exclusive or Premium Exclusive basis, meaning that they depict celebrities or
11   situations that are in extremely high demand and they are the only
12   photographs available of specific celebrities and situations in the world
13   (because no other photographers were present at the time the photographs
14   were taken). For those reasons, Exclusive and Premium Exclusive Images
15   command a higher licensing fee and are more valuable.
16         27.   In addition, defendant’s unauthorized uses of the Images are
17   commercial in nature. Defendant uses in-demand content about popular
18   celebrities to promote its digital platform.
19         28.   Indeed, on information and belief, defendant specifically posted
20   the Images on Instagram and X, formerly known as Twitter, to increase sales
21   of its products. On information and belief, defendant knew that because of
22   the Images’ depictions of popular celebrities, users would be attracted to
23   view the Images and thus more likely to subscribe and follow the
24   HIGHXTAR. social media accounts and web site and engage with and share
25   the digital platform’s content, thus enhancing its reach and online influence.
26         29.   As a company in the digital publishing industry, defendant
27   operates in an industry in which copyrights are prevalent and well-
28   understood. Based on that knowledge, defendant was aware of the
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                                        COMPLAINT
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 1   importance of copyright protection and knew that it needed to have but did
 2   not have permission to use the Images, and/or it acted recklessly by posting
 3   the Images without determining the right to do so.
 4                                      CLAIM ONE
 5                     (For Copyright Infringement, 17 U.S.C. § 501)
 6           30.   Plaintiff realleges and incorporates by reference the allegations
 7   contained in the preceding paragraphs of this Complaint as if fully set forth
 8   here.
 9           31.   Plaintiff is the authors and or/copyright owners of the protected
10   Images named above in this Complaint.
11           32.   Defendant has reproduced, displayed, or otherwise copied the
12   Images without plaintiff’s authorization or license.
13           33.   The foregoing acts of defendant infringed upon the exclusive
14   rights granted to copyright owners under 17 U.S.C. § 106 to display,
15   reproduce, and distribute their work to the public. Such actions and conduct
16   constitute copyright infringement in violation of 17 U.S.C. §§ 501 et seq.
17           34.   Plaintiff has complied in all respects with 17 U.S.C §§ 101 et seq.
18   and secured and registered the exclusive rights and privileges in and to the
19   copyrights of the above-referenced works in accordance with 17 U.S.C § 408.
20           35.   Plaintiff suffered damages as a result of defendant’s unauthorized
21   use of the Images.
22           36.   Having timely registered its copyright in the Images, plaintiff is
23   entitled to elect statutory damages under 17 U.S.C. § 412 and § 504(c), in an
24   amount of not less than $750 or more than $30,000 per infringement of each
25   work registered.
26           37.   Plaintiff alleges, on information and belief, that that defendant’s
27   actions were intentional or in reckless disregard of plaintiff’s copyrights, and
28   that such actions support an award of enhanced statutory damages for willful
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                                         COMPLAINT
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 1   infringement under the Copyright Act, 17 U.S.C. § 504(c)(2), in the sum of up
 2   to $150,000 per infringed work.
 3         38.     In the alternative, plaintiff is entitled to recovery of their actual
 4   damages and defendant’s profits attributable to the infringement of the
 5   Images, under 17 U.S.C. § 504(b).
 6         39.     Within the time permitted by law, plaintiff will make their
 7   election between actual damages and profit disgorgement, or statutory
 8   damages.
 9         40.     Plaintiff is also entitled to a discretionary award of attorney fees
10   under 17 U.S.C. § 412 and § 505.
11                                  PRAYER FOR RELIEF
12   WHEREFORE, plaintiff requests the following:
13         A.      For a preliminary and permanent injunction against defendant
14   and anyone working in concert with them from further copying or displaying
15   the Images;
16         B.      For an order requiring defendant to account to plaintiff for their
17   profits and any damages sustained by plaintiff arising from the acts of
18   infringement;
19         C.      As permitted under 17 U.S.C. § 503, for impoundment of all
20   copies of the Images used in violation of plaintiffs’ copyrights—including
21   digital copies or any other means by which they could be used again by
22   defendant without plaintiff’s authorization—as well as all related records and
23   documents;
24         D.      For actual damages and all profits derived from the unauthorized
25   use of the Images or, where applicable and at plaintiff’s election, statutory
26   damages;
27         E.      For an award of pre-judgment interest as allowed by law;
28         F.      For reasonable attorney fees;
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                                          COMPLAINT
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 1        G.      For court costs, expert witness fees, and all other costs authorized
 2   under law;
 3        H.      For such other and further relief as the Court deems just and
 4   proper.
 5                               JURY TRIAL DEMAND
 6        Plaintiff demands a trial by jury of all issues permitted by law.
 7

 8   Dated: October 12, 2023       Respectfully submitted,
 9                                 PERKOWSKI LEGAL, PC
10

11                                 By:    /s/ Peter Perkowski
                                         Peter E. Perkowski
12
                                         Attorneys for Plaintiff
13                                       BACKGRID USA, INC.
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